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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION


VIAAS INC.,                                               Case No. 6:22-cv-01047-KC

         Plaintiff,

         v.

CISCO SYSTEMS, INC.,
                                                          JURY TRIAL DEMANDED
         Defendant.




              PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS
        FOR FAILURE TO STATE A CLAIM PURSUANT TO FED. R. CIV. P. 12(C)


                                       BACKGROUND

         Plaintiff VIAAS Inc. (“VIAAS”) sued Defendant Cisco Systems. Inc. (“Cisco”) alleging

that Cisco infringes U.S. Pat. Nos. 8,558,888 (the “’888 patent”) and 9,472,069 (the “‘069

patent”) (collectively, the “Patents-in-Suit”), 1 On January 17, 2023, Cisco filed a Motion to

Dismiss VIAAS’s Complaint for Failure to State a Claim (“Cisco’s Motion”). 2 VIAAS opposes

Cisco’s Motion as follows:




1
    Doc. No. 1.
2
    Doc. No. 11.


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I.       INTRODUCTION

         Claim 1 of the ‘888 patent reads as follows:




                                                                     3




3
    Doc 1-1, Exhibit A, 17:43-67.


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Claim 1 of the ‘069 patent reads as follow:




                                                                                       4



Cisco’s Claims and Allegations

       Cisco claims (1) “Claim 1 [of the ‘888 patent] Requires ‘Wherein Transmitting an Event

of Interest Comprises: Transmitting Immediately When Directed and Storing if Immediate

Transmission Fails.’ The Evidence VIAAS Cites Supports No Such Allegation”, 5 and (2) VIAAS

Does Not Allege “Generating Multiple Representations of the Event of Interest . . . Wherein the

Multiple Representations Include Both Video and Still Images of the Event Derived from the

Video” as Required by Claim 1 of the ’069 Patent. 6

II.    LEGAL STANDARD

       Rule 12(c) provides that “[a]fter the pleadings are closed -- but early enough not to delay

trial -- a party may move for judgment on the pleadings.” Fed. R. Civ. P. 12(c); Hale v. United



4
  Doc. No. 1-1, Exhibit B, 18:2-18.
5
  Doc No. 11 at 7.
6
  Doc. No. 11 at 11.


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States, 2017 WL 4512561, *3 (S.D. Tex. Aug. 18, 2017), aff'd, 772 F. App'x 213 (5th Cir. 2019).

The standard for judgment on the pleadings under Rule 12(c) “is the same as that for dismissal for

failure to state a claim under Rule 12(b)(6).” Chauvin v. State Farm Fire & Cas. Co., 495 F.3d

232, 237 (5th Cir. 2007); Johnson v. Johnson, 385 F.3d 503, 529 (5th Cir. 2004). The Court must

“accept the complaint's well-pleaded facts as true and view them in the light most favorable to the

plaintiff.” Id. The motion “should not be granted unless the plaintiff would not be entitled to relief

under any set of facts that he could prove consistent with the complaint.” Id. The inquiry

under Rule 12(c) “focuses on the allegations in the pleadings and not on whether the plaintiff

actually has sufficient evidence to succeed on the merits.” Ackerson v. Bean Dredging LLC, 589

F.3d 196, 209 (5th Cir. 209.) Tyger Mfg., LLC v. Mike's Worldwide LLC, No. CV H-19-2856, 2020

WL 7014207, at *1 (S.D. Tex. July 17, 2020)

       Federal Rule of Civil Procedure 12(b)(6) authorizes a court to dismiss a complaint if the

complaint “fail[s] to state a claim upon which relief can be granted.” The question resolved on a

motion to dismiss for a failure to state a claim is not whether the plaintiff will ultimately prevail,

“but whether [the] complaint was sufficient to cross the federal court's threshold.” Skinner v

Switzer, 562 U.S. 521, 530, 131 S.Ct. 1289, 179 L.Ed.2d 233 (2011). When considering a motion

to dismiss under Rule 12(b)(6), a court “accept[s] all well-pleaded facts as true, and view[s] those

facts in the light most favorable to the plaintiff.” Bustos v Martini Club, Inc., 599 F.3d 458, 461

(5th Cir.2010). (See, Script Security Solutions, LLC v Amazon, Inc., 170 F. Supp.3d 928 (E.D.

Texas 2016).

       Based upon the assumption that all the allegations in the complaint are true, the factual

allegations must be enough to raise a right to relief above the speculative level. Bell Atlantic Corp.

v. Twombly, 550 U.S. 544, 555 (2007). When the nonmovant pleads factual content that allows the




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court to reasonably infer that the movant is liable for the alleged misconduct, then the claim is

plausible on its face. Iqbal, 556 U.S. at 678.

        To state a claim for patent infringement under 35 U.S.C. § 271, a plaintiff need only give

the defendant “fair notice” of the infringement claim and “the grounds upon which it rests.” Disc

Disease Sols. Inc. v. VGH Sols., Inc., 888 F.3d 1256, 1260 (Fed. Cir. 2018). “Fair notice,” in turn,

requires the plaintiff to plausibly allege that the accused products meet “each and every element

of at least one claim” of the asserted patent. Disc Disease, 888 F.3d at 1260, Qwikcash, LLC v.

Blackhawk Network Holdings, Inc., No. 4:19-CV-876-SDJ, 2020 WL 6781566, at *3 (E.D. Tex.

Nov. 17, 2020) (See, also, Hunton Energy Holdings, LLC v. HL Seawater Holdings, LLC, 539 F.

Supp. 3d 685, 694 (S.D. Tex. 2021), a defendant has fair notice of a direct infringement claim if

the complaint specifically identifies the allegedly infringing product and the patent the

product infringes.) 7

III.    VIAAS HAS SUFFICIENTLY ALLEGED DIRECT PATENT INFRINGEMENT
        AGAINST CISCO

        VIAAS respectfully submits that it adequately pleaded a claim of direct patent

infringement to withstand Cisco’s Motion to Dismiss. The claim charts attached to the Complaint,

plausibly alleges that the Accused System meets “each and every element of at least one claim” of

the asserted patent. See, Disc Disease, 888 F.3d at 1260.


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  “Specific facts are not necessary; the statement need only give the defendant fair notice of what
the ... claim is and the ground upon which it rests.’ ” Id. (quoting Erickson v. Pardus, 551 U.S. 89,
93 (2007)) (alteration in original) (internal quotation marks omitted). A complaint is insufficient
if it offers only “labels and conclusions” or “a formulaic recitation of the elements of a cause of
action.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.
544, 555, (2007)). “The pleading standard for a Rule 12(c) motion is the same as a Rule 12(b)(6)
motion to dismiss.” Simmons v. Texas, 2010 WL 11601167, at *1 (W.D. Tex. May 14, 2010).
Quartz Auto Techs. LLC. v. Lyft, Inc., No. 1:20-CV-00719-ADA, 2021 WL 1177886, at *2 (W.D.
Tex. Mar. 29, 2021)



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           A.      VIAAS has Sufficiently Pled a Claim for Claim 1 of the ‘888 Patent, in that
                   VIAAS has Sufficiently Alleged that the Accused Products Include “Wherein
                   Transmitting an Event of Interest Comprises the Following Processes:
                   Transmitting Immediately When Directed and Storing if Immediate
                   Transmission Fails.”

          VIIAS has specifically alleged, with factual support that the Accused System includes

“transmitting an event of interest … transmitting immediately when directed and storing if

immediate transmission fails” as required by Claim 1 of the ‘888 patent. 8 Specifically, referring to

Exhibit C of VIIAS’s Complaint, 9 VIIAS has provided Cisco the “fair notice” as required by Disc

Disease:

    Claim One                                        Corresponding Structure in the Accused
                                                     System
    wherein transmitting an event of interest        Meraki transmits data from events of interest
    comprises the following processes:               immediately as evidenced by the immediate
    transmitting immediately when directed and       alert a user receives when an event of interest
                                                     occurs in range of a device. Examples of
                                                     events of interest include motion detection.


    storing if immediate transmission fails          Meraki cameras can store data locally and
                                                     record while offline. This way, the data is
                                                     stored even if transmission fails, such as in a
                                                     power outage. Meraki cameras have sufficient
                                                     storage capacity to retain recordings of events
                                                     of interest. 10



          Accordingly, VIIAS submits that it has specifically alleged with factual support, 11 a

plausible statement/articulation as to why the accused product infringes the [above-referenced




8
  Doc. No. 1-1, Exhibit A, 17:57-60.
9
  Doc. 1-1. Exhibit C. Claim Chart to the ‘888 Patent at 10-12.
10
   Id, [Emphasis added.]
11
   See, Doc. 1-1. Exhibit C. Claim Chart to the ‘888 Patent at 10-12 for factual support.


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element] of the patent claim. (See, Bot M8 LLC v Sony Corp of Am., 4 F.4th 1342, 1353 (Fed Cir.

2021)), therefore meeting, if not exceeding the Disc Disease notice “fair notice” requirement.

          Moreover, VIIAS disagrees with Cisco that it has failed to address the “storing if immediate

transmission fails.” 12 [Emphasis added.] Referring to VIIAS’s claim chart to the ‘888 patent:




                                                                                                   13


VIIAS submits that the reference to “even if the network connection cuts out, the cameras will

continue to record footage” [Emphasis added] addresses what Cisco believes to be an explicit

limitation of the ‘888 patent.

          To that end, VIIAS believes that this is emblematic of the flaws in Cisco’s Motion, in that

Cisco argues claim construction positions with respect to various claim terms. These arguments

should be ignored as improper at the pleading stage, and instead every factual inference should be

construed in VIIAS’s favor. To that end, VIIAS respectfully submits that these arguments are more

appropriate at the Markman stage. VIIAS submits that it has alleged facts to support its claim for

direct infringement, as made clear in its claim charts In response, Cisco argues why these

allegations are impossible or improbable based on its purported constructions. This is

fundamentally improper.




12
     Doc 11 at 9.
13
     Doc. 1-1. Exhibit C. Claim Chart to the ‘888 Patent at 11.


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           B.      VIAAS has Sufficiently Pled that the Accused System “Generat[es] Multiple
                   Representations of the Event of Interest . . . Wherein the Multiple
                   Representations Include Both Video and Still Images of the Event Derived from
                   the Video” as Required by Claim 1 of the ’069 Patent.

          VIIAS has specifically alleged, with factual support that the Accused System includes

“generating multiple representations of the event of interest . . . wherein the multiple

representations include both video and still images of the event derived from the video” as required

by Claim 1 of the ‘069 patent. 14 Specifically, referring to Exhibit D of VIIAS’s Complaint,15

VIIAS has provided Cisco the “fair notice” as required by Disc Disease:

 Claim One                                              Corresponding Structure in the Accused
                                                        System
 generating multiple representations of the             Meraki cameras continuously record and
 event of interest determined by the PORT,              upload the video feed to the cloud. An alert is
 wherein the multiple representations include           sent out when an event occurs. The video of
 both video and still images of the event               the event of interest is stored as a continuous
 derived from the video                                 feed on the cloud storage service.



          Accordingly, VIIAS submits that it has specifically alleged with factual support a plausible

statement/articulation as to why the Accused System infringes the [above-referenced element] of

the Claim 1 of the ‘069 patent. (See, Bot M8 LLC v Sony Corp of Am., 4 F.4th 1342, 1353 (Fed

Cir. 2021)), therefore meeting, if not exceeding the Disc Disease notice “fair notice” requirement.

In response to Cisco’s Motion at 11-12, VIIAS submits that video cameras are capable of recording

still images. But more importantly, and once again, Cisco is impermissibly transforming the

current motion into an exercise in claim construction.

          “The complaint must be liberally construed in favor of the plaintiff, and all facts pleaded in

the complaint must be taken as true.” Morgan Stanley Dean Witter, 224 F.3d at 498



14
     Doc. No. 1-1, Exhibit B, 18:6-10
15
     Doc. 1-1. Exhibit D. Claim Chart to the ‘069 patent at 5.


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(quoting Kaiser Aluminum & Chem. Sales v. Avondale Shipyards, 677 F.2d 1045, 1050 (5th Cir.

1982)). The “plausibility standard is met when ‘the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.’” Disc Disease Solutions Inc. v. VGH Solutions, Inc., 888 F.3d 1256, 1260 (Fed. Cir.

2018) (quoting Iqbal, 556 U.S. at 678). VIAAS has gone above and beyond the requirements of

the pleading stage. The fact that Cisco disagrees with VIAAS’s claim interpretation and

infringement read is not a proper basis for dismissal of the complaint with a 12(b)(6) motion.

          For all the foregoing reasons, Cisco’s Motion to Dismiss VIAAS’s Complaint should be

denied.

          IV.    REQUEST TO FILE AN AMENDED COMPLAINT

           While VIAAS believes that it has provided the Court with an adequate basis to deny

Cisco’s Motion. In the event that the Court grants relief to Cisco in any form, VIAAS respectfully

requests leave to file an amended complaint.

          V.     CONCLUSION

          For the foregoing reasons, VIAAS respectfully requests that the Court deny Cisco’s

Motion to Dismiss Plaintiff’s Complaint.

          Dated: January 31, 2023,                   Respectfully Submitted

                                                     Ramey LLP

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                                CERTIFICATE OF SERVICE


       Pursuant to the Federal Rules of Civil Procedure, I hereby certify that all counsel of record

who have appeared in this case are being served on this day of January 31, 2023, with a copy of

the foregoing via ECF.

                                                     /s/ William P. Ramey, III
                                                     William P. Ramey, III




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